                                                                       CLERK'S OFFICE U,S.DISX COURT
                                                                              AT ROANOKE,VA
                                                                                   FILED

                                                                               AFR 2 5 18
                    IN T H E U N ITED STAT ES D ISTRICT CO U RT
                    FO R TH E W E STE RN D IST RICT OF W R GIN M           JUL c         ,Ex cj
                                                                         BY;     ,       ,
                                                                                         - -. -
                                 ROAN O U D IW SIO N                                 ,     RK

 CO LETTE M .W ILCOX ,

       Plaintiffy                                Case N o.7:17-cv-000530



 N ATI-IAN H .LYON S,ESQ .,p.lp-ky               By:M ichaelF.Urbansld
                                                 ClliefUnited StatesDistdctJudge
       D efendants.

                              >     M O M N D U M O PIN IO N

       PlainéffColetteM .W ilcox fiedthisemploymentacéon pursuantto 42U.S.C.j
 1983,alleging violadonsofhezEqualPtotecéon rightsundetthe Foutteenth Am endm entto

 the United StatesConstitudon.D efendantsm oved to disnaissW ilcox'scbim s.The court

 held ahearingon defendants'moéonstodismissonM atch22,2018.Thefollowing day,it

 entered an orderdismissingwith prejudiceWilcox'scl/imsagninstCarrollCountyaswellas
 herhosleworkenvitonmentclsim (Count111)againstdefendantsNathanH.Lyons,Esq.
 andPhillipC.Steele,Esq.ThecourtdismissedWilcox'ssexdiscrimination (CountI),
 zetaliaéon (CountII)anddeprivationoflibertyinterest(Count1/ clnimswithoutpzejuclice
 andgaveherleavetoamend.Thestatelaw batteryclnlm againstdefendantSteele(CountV)
 stavived the m odon to disnaiss.

       W ilcox now m ovesto am end hercom plaintand fozreconsidetadon ofthecoutt's

 otderasregatdsCountI1,alleging retaliadon.Sheseeksleaveto am end hercomplaintto

 assertadclidonalallegationssuppordng hercllim fordeprivation ofliberty intezest,which the

 courtalteadykzantedin itsMarch 23 ordet,toreasserthezbatteryclnim,and toreasserther


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 zetaliadon clnim withqutam ending the relevantfactazalallegations.The proposed am ended

 com plaintdoesnotinclude a cloim forsex discrim ination.

       Asregardstheretaliadon cbim ,W ilcox asksthe courtto reconsideritsM azch 23

 tnxling,atguing she hasalleged aclnim forreliefsufficientto sutvive achallengeputsuantto

 Rule12q$(6)oftheFederalRulesofCivilProcedute.Wilcoxpositsthitherburdenof
 establishing aptim afacie case ofretaliadon atthisstageisnotonerous,and herallegadon of

 tem poralprovim ity alone isenough to establish acauàalconnection between theprotected

 acévity and the advezseem ploym entacéon and therefore stateavalid clnim fozzetaiiadon.

 The courtdisagreesand,assuch,willGR AN T in partand D EN Y in partW ilcox'sm oéon

 to am end and D EN Y herm odon fotrecoqsidetadon.

                                             1.

        PursuanttoRule549$,thecouztlaasthepowettozeconsidetandmodifyits
 interlocutory ordetsthattesolve fewetthan allcbim sffatany tim e before the entty ofa

 judgmentadjudicatingallthecbimsandallthepardes'rightandliabilities.''Fed.R.Civ.P.
 54q$9Am.CanoeAss'nv.M          hrFarmsInc.,326F.3d505,514-15(4thCit.2003).
 Accorclingly,Tfgmlodonsforreconsidezadon ofinterlocutoryordersatenotsubjectto the
 stdctstandardsapplicabletomodonsfozreconsideraéonofafmaljudgment.''Am.Canoe
 Ass'n,326F.3dat514.Atplaintiff'srequtst,thecouttwillreview itsptiort'ulinginlkhtof
 theargum entshe zaises.

                                             I1.

        Plainéffpresum esthatherm taliation cllim alleging adverseacdon on accountofher




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 complaintofdiscriminationisactionableundetj1983asaviolaéonoftheEqualPtotecéon
 Clause ofthe Foutteenth Am endm ent- butthatfactisfatfrom cettain.W hile the Fourth

 CitcuitinHolderv.CityofRaleigh,867F.2d823,828(4thCir.1989),heldstateemployees
 could bringFourteenthAmendmentchallengesunderj1983 to discriminatozy employment
 decisions,ratherthan relying exclusively on TitleV II,H olderdoesnotspeak specifically to

 retaliadon clnim s.Ten yeuslater,the Fourth Circuitaddtessed retaliaéon clnim sin the

 contextofj1983and statedEdwardsv.C# ofGoldsborothata2:ptzreozgeneric
 m taliation clnim ...sim ply doesnotim plicate the EqualProtection Claùse.'?178 F.3d 231,

 250(4thCir.1999)9seealsoMartinv.Duffy,858F.3d239(4thCit.2017)Soldingplaindff?s
 equalpzotection cllim w asbestchatacterized asa rewording ofl'
                                                              lisFitstAm endm ent

 êetaliation clnim and,in such circum stances,genezicretaliaéon clnim sdo notim plicate the

 EqualPtotecdon Clause,ciéngEdwards).DistrictcourtshavesinceteliedonEdwatdsin
 holding theFotuth Citcuitdoesnotrecopaizegenericzetaliatbn clnim sbased on equal

 protection.See e..,Phillisv.Mabe,367F.Supp.2d 861,871(M.D.N.C.2005);Johnsonv.
 ScottCnty.Sch.Bd.,No.2:12cv00010,2012 WL 4458150,at*(W.D.Va.July31,2012)
 games,J.).lnstead,cotgtshavefoundretaliaéon clnimsatemoreproperlyalleged underthe
 consétution'sFirstAm endm entprotecdons.See e. .W hitev.G aston County Board of

 Educatbn,No.3:16-cv-00552,20.
                             17WL 220134,at*3 (W.D.N.C.Jan.18,2017)(zetaliadon
 claim pzoperlyasseztedunàetj1983asviolauonofFirstAmendment,ratherthan
 Fotuteenth Amendment);Ic oxv.Mayor& C# CouncilBaltimoreCity,No.J10 -17-1384,
 2017WL 5903709(D.Md.Nov.29,2017)(cidngEdwardsand holdingretaliaùonclnim not
 violaéon ofrightto equalprotection,zathezitfffisclearly established asaftrstamendmentright



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 and asa statutoy rightunderTitleV Il;butno clearly established rightexistsu'ndertheequal

 Jrt//:r'
        //bz;clausetobefreeftom zetaliaéon.n).W ilcox assettsno FirstAmendmentclnim of
 retaliaéon hete.

       The collrtnotesthatatleastonecitcuithasrecendy changed itsstance on thisissue.

 ln Ve av.H em stead U nion Free SchoolD istrict,the Second Circlzitacknow ledged the
 ff
  considerableconfusion sturounding theviabilityofretaliadon clnimsunderj1983:7and
 clarihed thatfrretaliatioh cbim salleging an adverse acéon because ofa com plaintof

 disctiminaéon azeacéonableunderj198377allegingaviolation oftheEqualProtection
 Clause.801F.3d 72,80 (2d Cit.2015).TheSecond Citcuitreasonedthatan employèr's
 retaliatoryaction in responsetoan employee'spltticipationin adiscriminaéon itwestkadon
 and proceeclingsconstittzted an impernaissiblereason to treatan em ployee differently for

 purposesoftheEqualPzotecdon Clause.J.
                                     dz.at81-82.Thecourtftutherremarked that

 retaliation isa form ofdiscrim inadon and,asithasrecogruz
                                                         'ed thatan equalprotection cbim

 parallelsaTitleV IIcbim ,itfound no good teason to deviate from thisprinciple for

 zetaliaéon cloim s,w hen thetetaliatory acdon istaken because aplainéffcom plainsofot

 opposesdisctim inadon.Id.at82.

        ItisunclearwhethertheFourth Circuitwould adoptthereasoning ofthe Second

 CirctzititzVegaand find aretaliadon clnim bêoughtpursuantto j1983 andtheEqual
 Protecéon Clauseisviable.Thecouttneed notreach thatissue,howevet,asW ilcox has

 failed to state aprim a faciecase fotretaliation undertheTitleV II fram ework,even assllm ing

 itisapphcablehete.




                                              4

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                                             111.

       Toestablishaprimafaciecaseofretaliation,Wilcoxmustshow:(i)fçthatgshej
 engagedinptotectedactivityy'@ rfthat(hetemployet)tookadvetse'actionagainstthezl,''
 andtiii)Tfthatacausalreladonshipexistedbe> eentheprotectedacdvityandtheadverse
 employmentacdvity.''Fosterv.Univ.ofMa land-E.Shore,787F.3d243,250(4ihCit.
                 ,     '   .       .                        '                     '

 2015).ThecouttheldthatWilcox failedto sadsfythethird causadon elementand gavehez
 leavetoa>end.ln hermodon forzedonsidétadon,W ilcoxarguessheneednotamend,as

 herallegaéon asto tem poralproxim ityisalone sufficientto stateaprim a faciecase foz

 retaliadon.

       W ilcox'sallegationsplainly sadsfy the flrstand second elem entsofa retaliation cbim .

 She allegesshe engaged in protected acdvity by com plnining aboutthealleged discrim inadon

 and hosdlework envitonm entand.thatshe suffered adverse.
                                                        em ploym entacéon asaresult.

 A m .Com pl.,ECF N o.26 1,at!(
                           ,  j(92,94.Aszegatdstllecausallink,Wilcoxffreliesheavily
                               -




 on temporalproximitf7- thetvo-and-a-halfmonth timespan between herNovember30,
 2015protected acévity'and herFebrtzary 17,2016 tetvninadon.M ot.to Reconsider,ECF

 N o.25,at4-5.

        ffx'
           he casesthatacceptm etetem poralpzoxim itybetween an em ployer'sknowledge of

 protected activity and an adverse em ploym entacdon assuffcientevidenceofcausality to

 establish aprirrm facie case unifornaly hold thatthetem potalproxim ity m ustbe fvery

 closegj'''Clatk C .Sch.Dist.v.Breeden,532U.S.268,273 (2001)(citationsomitted).O e
 thereisno rrbrighttem poralline,''case1aw ftom theFourth Citcuitsuggeststhattwo-and-a-

 halfm onthsbetween theprotected acévityand theadverseactbn istoo long to establish




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 causationbytempotalptoximityalone.SeeIGn v.Rumsfeld,328F.3d145,151n.5(4th
 Cit.2003)ttwomonthsandtwoweeksçfsufficientlylongsoastoweàken signiikantlythe
 inferenceofcausation between thetwo events?);Hornev.ReznickFeddez& Silverman,154
 F.App'x361,364(4t.hCit.2005)solclingdisttictcourtdidnoterringtantingsummary
 judgmentindefendant'sfavoronretaliaéon cbim,asplainuff'sonlyeyidenceofcausadon
 wasthatshewasfttedtwomonthsafterdiscrinainadoncomplnint,ciéng1111:
                     . I
                           '
                               .
                                             '
                                                                  1$9seealso
 Per v.Ka os,489F.App'x637,643(4thCir.2012)Soldingthreemonthlapsetoolong
 toestablishcausadon,withoutmote);Pascualv.Lowe'sHomeCtts.,Inc.,193F.App'x229,
 233(4thCit.2006)(threetofourmonthseparaéonbetweenterminationandclnimed
 protectedactivitytoo longto establish acausalconnecéon bytemporalproximityalone);
 W ilsonv.Ci ofGaithersbu.
                         r,121F.Supp.3d478,4850 .M d.2015)qapseofmorethan
 threem onthstpo long apeziod to establish açausalrelationship on tem poralproxim ity

 alone);g-
         f.Fosterv.Univ.ofMd.,787F.3d243,247(4t
                                              .hCir.2015)(complaintsof
 discriminationonemonthpriortoterrninaéonsufhcienttocreateajuryquesdontegarding
 causaéon prongofpzimafaciecaselilenkinsv.GaylotdEntertainmentCo.,840 F.Supp.2d
 873,881(D.Md.2012)(two-day span between opposition activityand suspension wasffvery
 close''and sufâcientto stateacognizablecausation clliml.
       W ilcox citessevetalcasesfrom the Fotzrth Citctzitin supportofherposition thatthe

 twocand-a-halfm onth dm elapseissufficientto establish a causallink and statea ptim a facie

 case ofretaliadon.SeeM ot.to Reconsider,ECF N o.25,at4-5.Two ofthesecasèsdo not

 help theplaindff.In Penley v.M cD owellCounl Board ofEducaéon,876 F.3d 646,656

 (4thCir.2017),theFourth Circtzitheld ffgsltanclingalone,knowledge(ofprotectedspeech)

                                                 6
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 eightto ninemonthspriotgto advetseacdonlisnotTveryclosey''andwastoo distanttotaise
 an infetence ofcausadon.Anothetcase cited by W ilcox,Pticev.Thom son, isa failute-to-

 hire case.There,theFourth Citctzitheld plaintiffhad established aprim a facie càse of
                                      '
                                  ,


 retaliadon because areasonable ttieroffactcould conclude thatdefendantknew phinéff

 had engaged in pzotected acévityand declined to hitehim atthe & stavailable opportaznity.

 380F.3d 209,213(4th Cit.2004).Neithetofthesecasesison point.
        W ilcoxzeliesprimarilyonW illiamsv.Cezberonics,871F.2d 452 (4th Cir.1989)and
 1Q,
   r1 v.Rlnmsfeld,328F.3d 145(4thCir.2003),170thofwhichazefacmallydisdnguishable.
 In W illiam s,the cotutheld thatplainéffhad fdsadsfied the lessonerousbutden ofm aking a

 prim afacie case ofcausaliy ''butultim ately detetm ined theevidencedid notsupportthe

 inferencethatthe probable ffbutfor':m oéve behind W illiam s'discharge wasretaliaéon.1d.

 at457,459.W illiam s.ftled adiscrim ination com plainton N ovem ber4.Shewasplaced on

 probadon onlanuary6,buthersupervisorwasnotawareofthediscriminadon chatgeatthe
 tim ehem ade thatdecision.Ld.sat454.By the tim e shewasterm inated on Febt'uary22,her
 supervisorswereawate ofthe discrim inaéon charge.Although itisuncleatwhen W illiam s'

 superdsorsbecam e awate ofthe discrim inadon com plaint,thetim espan between the

 ptotected activity and the adverse acéon wassom ewhere atound sixw eeks- lessthan the

 tvvo and ahalfm onths atissuein theinstantcase.

        Theplaindffin Iû ng,a teacherfortheD epnttm entofD efenseD ependentSchools,

 wasfred two m onthsand two weeksaftezhissuperiozwasnoto ed thatIo ng had ftled an
                          .




 EEO com plaint.The Fourth Circlzitstated in a footnote thatthislength oftim e Tfis

 sufficiently long so asto weaken signihcantly theinference ofcausadon between thetv o




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 events.''328 F.3d at151 n.5.N evertheless,thecouttw enton to hold thatlving had m ade

 outaptim afacie case oftetaliadon.The cotutexplained:

               Yet,in the contextofthispatéctzlar em ploym entsim ation,this
               length of tim e does'not undercut the inference of causaéon
               enough to zender Ifing's ptim a facie cloim unsuccessful.H ete,
               N ng's superiorsj committed to ongoing reviews of Iing's
               perfol-
                     m ance thatsetthe end ofthe acadennic schoolyearasthe
               nataral decision point, thus m aking hkely that any dischatge,
               lawftzlorunlawftzl,would com eatthattim e.

 LdaItiscleatin IfingthattheFoutyh Citctzit'sdetetminationthatatwo-and-a-halfmonth
 tim elapse gaverise to a sufhcientinferenceofcausaéon given the factsofthatparécular

 case,whete the naturaldecision pointwastheend oftheacadenlicyear.Thereisno

 com prabledecision pointin theinstantcase.

        ln short,thecase1aw cited by W ilcox givesthe cotu:tno reason to reconsideritspdor

 ruling asto herretaliation cllim .Tlniscasedoesnotitw olve the kind offfveryclose''èim e

 span between protected acdvityand adverse acdon thatgivesrise to an inference of

 causaéon and establishesa prim a facie case ofzetaliation.Tfln caseswhereTtem poral

 proxim ity between protected activity and allegedly retaliatory conductisrnissing,courtsm ay

 look to theintervening period fozotherevidence ofzetaliatoly anim ys.r'Letderiv.E uant

 Inc.,478F.3d640,650(4th Cir.2007).Thereisnosuchzetaliatoryanimusallegedinthe
 instantcase.The only othetallegadon W ilcox advancesin supportofherretaliaéon clsim is

 thatco-wotkersFeltsandlonesdistancedthem selvesfrom herin December2015.See Am .
 Compl.,ECF No.26-1,at41.AsneitherFeltsnorloneswasthedècisionmakethere,this
 allegadon issim plynotprobadveofretaliatoryanim us.




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                                          IAT-

       Forthesereasons,the couttwt
                                 *llD EN Y W ilcox'sm odon forreconsideradon ofits

 priordism issalofhezretaliaéon claim .The courtwitlG RAN T in partW ilcox'sm otion to
                                                                                '
                                           .



 am end and directthe Clerk to fllethepzoposed am ended com plainton thedocket.

 H owever,becauseW ilcox clid notam end hezclnim forretaliaéon,Countloftheproposed

 amendedcomplaintwillbeDISM ISSED pursuanttoRule124$(6)oftheFederalRuiesof
 CivilProceduze,consistentwith thecoutt'sM azch 23,2018 mxling.

       An appropriate Ordetwillbe enteted.

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